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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:madridvpeopleofthestateofcoloradono24sc156september30,2024"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Phillip Paul Madrid&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt; &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SC156&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;September 30, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="162" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="162" data-sentence-id="179" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="reporter" data-prop-ids="sentence_179"&gt;&lt;span class="ldml-cite"&gt;Case No. 21CA12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="218" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="218" data-sentence-id="234" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Petition
 for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="280" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="280" data-sentence-id="297" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;CHIEF
 JUSTICE &lt;span class="ldml-entity"&gt;MARQUEZ&lt;/span&gt;&lt;/span&gt; would grant as to the following issue:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="364" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="364" data-sentence-id="380" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; is entitled to raise the statutory affirmative
 defense of duress without showing that the threat was
 imminent and that there were no reasonable alternatives to
 the prohibited conduct.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
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